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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION
 In re

 Interstate Underground Warehouse and                  Case No. 21-40834
 Industrial Park, Inc.,                                Chapter 11

                               Debtor

 THIRD STIPULATED MOTION FOR EXTENSION OF TIME TO FILE OBJECTION
               TO PROPOSED PLAN OF REORGANIZATION

         Debtor Interstate Underground Warehouse and Industrial Park, Inc. and Creditors Empire

Holding, Inc., U.S. Patriot Services, American Veteran KCA, and American Veteran STLA

(collectively “Empire”) by and through their respective undersigned counsel hereby move this

Court for an extension of time up to and including Tuesday, July 5, 2022, for Empire to file an

objection to the Debtor’s Third Amended Plan of Reorganization (“Plan”) (Doc. No. 423). In

support of this motion the parties state as follows.

         Empire and the Debtor are parties to a Storage and Delivery Agreement (“Agreement”).

Section 6.2 of the Debtor’s Plan proposes to reject this Agreement and Empire is asserting that if

the Agreement is rejected then it is entitled to exercise its rights under 11 U.S.C. § 365(h). The

parties have been making progress in their settlement discussions to resolve their differences but

a resolution has still not been reached yet. This Court has previously granted stipulated motions

which extended the deadline for Empire to object to the Plan to June 216, 2022 (See Doc. Nos.

441 and 462). As the Court is aware, the Debtor filed a motion to continue the hearing date on

the Plan for a period of 60-days. Doc. No. 456. The Court had a telephonic status on that matter

for Tuesday, June 21 wherein it continued the hearing on the Plan.

         Empire and the Debtor are continuing to negotiate in good faith and are hopeful that a

resolution can be reached. The parties have agreed that a modest extension of the Plan objection



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deadline to July 5 for Empire is agreeable as that should be sufficient time to enable the parties to

see if their differences can be resolved.

         WHEREFORE, the parties request that this Court enter an Order extending the deadline

up to and including Tuesday, July 5, 2022 for Empire to object to the Plan.


Dated: June 21, 2022.

Respectfully submitted,

 KRIGEL & KRIGEL, P.C.                                   HUSCH BLACKWELL LLP


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 Warehouse and Industrial Park, Inc.                     Counsel for Creditors Empire Holding, Inc.,
                                                         U.S. Patriot Services, American Veteran
                                                         KCA, and American Veteran STLA


                                    CERTIFICATE OF SERVICE

        I hereby certify that on June 21, 2022, the above and foregoing document was filed
electronically using CM/ECF and a true and correct copy of the above and foregoing was served
as follows:

         X         upon filing, the Court’s electronic noticing systems and sent notice to all parties
                   participating in the CM/ECF system in this matter.


                                                           /s/ Michael D. Fielding
                                                           Michael D. Fielding MO 53124




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